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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00288 LJO-SKO

12                                  Plaintiff,           ORDER CONTINUING TRIAL BASED UPON
                                                         STIPULATION
13                           v.

14   JORGE ARREOLA-SERRATO,                              Date: February 27, 2018
                                                         Time: 8:30 a.m.
15                                  Defendant.           Honorable Lawrence J. O’Neill

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17            The defendant, by and through his attorney, Arturo Hernandez, and the United States of
18 America, by and through Assistant U.S. Attorney Kathleen A. Servatius, have agreed to continue the

19 trial in this case from February 27, 2018 until May 15, 2018. The basis for the continuance is due the

20 unavailability of counsel for the defendant who is undergoing surgery and requires an extended

21 recuperation period. Based upon this, and taking into account the availability of counsel based upon

22 their respective trial schedules, the next available date wherein both parties can try the matter is May 15,

23 2018.

24            IT IS HEREBY ORDERED that the trial in this case be continued from February 27, 2018 until
25 May 15, 2018 at 8:30 a.m.

26            IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as
27 requested outweigh the interest of the public and the defendants in a trial within the original date

28 prescribed by the Speedy Trial Act due to the unavailability of counsel for the defendant and for the

      Order
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 1 reasons stated in the parties’ stipulation. For the purpose of computing time under the Speedy Trial Act,

 2 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of February 27 through

 3 May 15, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 4 results from a continuance granted by the Court at the parties’ request on the basis of the Court’s finding

 5 that the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.

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     IT IS SO ORDERED.
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        Dated:    January 23, 2018                           /s/ Lawrence J. O’Neill _____
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                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      Order
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